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                                             March 13, 2024

BY ELECTRONIC FILING

       Re:      FORMER DEFENSE COUNSEL RESPONSE TO COURT ORDER

To the Court,

       On February 27, 2024, I was served with a copy of the Sentencing Guideline
Recalculation for Antwain O’Neal Carter in Case No. 3:19-cr-63. On March 13, 2024, Judge
David J. Novak issued an order directing me to respond per the Standing Order issued by Judge
Lauck on October 31, 2023, In re: Petitions for Application of Retroactive 2023 Criminal
History Amendments to the Sentencing Guidelines.

       I am no longer a member of the CJA Panel in the Eastern District of Virginia and,
accordingly, I do not seek reappointment to resume representation of Mr. Carter in this matter. I
apologize for the delay in responding to Sentencing Guideline Recalculation.

                                                        Sincerely,

                                                        /s/ Timothy G. McCormick

                                                        Timothy George McCormick
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